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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 0:20-CV-61872-AHS

  ALAN DERSHOWITZ,

         Plaintiff,

  v.

  CABLE NEWS NETWORK, INC.,

        Defendant.
  ______________________________/

                  CNN’S MOTION TO UNSEAL MAY 6, 2022 TRANSCRIPT
                  IN SUPPORT OF ITS MOTION FOR RECONSIDERATION

         Defendant, CABLE NEWS NETWORK, INC. (“CNN”), by and through its undersigned

  counsel, respectfully moves for this Court to unseal for the use of the Court and the parties’

  counsel’s only the transcript from May 6, 2022 hearing before the Magistrate Judge in order to

  support its Motion for Reconsideration and Memorandum of Law and states as follows:

                                            Introduction

         1.      On June 6, 2022, CNN filed its Motion for Reconsideration [D.E. 128] of this

  Court’s Order overruling CNN’s objections [D.E. 113 and D.E. 114] to the Magistrate’s Judge’s

  April 21, 2022 Order [D.E. 101] because the Court believes such objections to be untimely.

  Incorporated within such motion was a transcript of Magistrate’s ruling that clearly stayed her

  April 21, 2022 order until after the parties’ April 25, 2022 mediation.

         2.      On June 7, 2022, Plaintiff, ALAN DERSHOWTIZ (“Dershowitz”), filed his

  Response to the Motion for Reconsideration [D.E. 136] which CNN believes misrepresented

  and/or ignored the Magistrate’s clear and unambiguous stay order. Notably, Plaintiff did not argue

  that CNN’s objections were untimely in his responses to CNN’s Objections [119 and 120] - -
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  signaling that Plaintiff understood, as CNN does - - that the Objections were timely filed. In fact,

  on May 9, 2022, counsel for Plaintiff informed counsel for CNN that Plaintiff was not filing any

  objections to Magistrate Judge Valle’s order, precisely because Plaintiff knew they were due on

  that date.

          3.      To provide further clarification to the Court with regard to the Magistrate’s

  intensions, CNN requests that this Court unseal the transcript from the May 6, 2022 hearing 1 before

  the Magistrate so that the Court and the parties’ counsel can review. CNN respectfully believes

  that during such hearing, the briefing schedule for any objections to the Magistrate’s Order was

  not only discussed but would support CNN’s Motion for Reconsideration that its filed objections

  were timely.

          4.      CNN would then file a redacted copy of the transcript on the public docket within

  5 days of receiving the transcript.

                                            Legal Standard

          5.      “‘[T]he common-law right of access to judicial proceedings, an essential

  component of our system of justice, is instrumental in securing the integrity of the process.’ ”

  Romero v. Drummond Co., Inc., 480 F.3d 1234, 1245 (11th Cir. 2007) (quoting Chicago Tribune

  Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311 (11th Cir. 2001) ). “The common law right

  of access may be overcome by a showing of good cause, which requires ‘balanc[ing] the asserted

  right of access against the other party's interest in keeping the information confidential.’ ” Romero,

  480 F.3d at 1246 (quoting Chicago Tribune Co., 263 F.3d at 1309).




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          On May 4, 2022, the Magistrate scheduled a telephonic hearing on May 6, 2022 at 3:00
  p.m. to expeditiously address the Magistrate’s ruling at the April 21, 2022 hearing regarding the
  Request for Production #8 [D.E. 112]
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            6.    “[W]hether good cause exists ... is ... decided by the nature and character of the

  information in question.” Id. at 1315. In balancing the public interest in accessing court documents

  against a party's interest in keeping the information confidential, courts consider, among other

  factors, whether allowing access would impair court functions or harm legitimate privacy interests,

  the degree of and likelihood of injury if made public, the reliability of the information, whether

  there will be an opportunity to respond to the information, whether the information concerns public

  officials or public concerns, and the availability of a less onerous alternative to sealing the

  documents. See Id. citing In re Alexander Grant & Co. Litig., 820 F.2d 352, 356 (11th Cir.1987);

  Shingara v. Skiles, 420 F.3d 301, 305–06 (3d Cir.2005). A party's privacy or proprietary interest

  in information sometimes overcomes the interest of the public in accessing the information. Id.

  citing Nixon v. Warner Commc'ns, Inc., 435 U.S. 589, 598, 98 S.Ct. 1306, 1312, 55 L.Ed.2d 570

  (1978).

            7.    Here, good cause exists to unseal the May 6, 2022 transcript for the review of the

  parties and the Court. CNN’s Motion for Reconsideration is related to comments of the parties and

  the Magistrate on May 6, 2022. The statements during such hearing, CNN believes, support its

  argument that its objections were timely because the Magistrate’s Order was stayed. As such, the

  sealed transcript should be accessed by the Court and the parties’ counsel and unsealing same would

  not prejudice anyone.

            8.    On June 8, 2022, the undersigned counsel, pursuant to Local Rule 7.1(a)(3), made

  a reasonable effort to confer in writing with counsel for the Plaintiff to resolve by agreement the

  issues raised in this motion. A true and correct copy is attached as Exhibit “A”. Counsel for the

  Plaintiff has not responded to such written inquiry. As such, despite such good faith efforts to

  resolve the issues raised in the motion, the parties have been unable to do so.



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          WHEREFORE, Cable News Network respectfully requests that the Court unseal the

  transcript of the May 6, 2022 hearing only to the parties and the Court so that they may review it.

  CNN then undertakes to file a redacted transcript of the proceedings within 5 days of receipt of

  the transcript.

                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed and

  served via the Court’s CM/ECF portal on this 9th day of June, 2022 to Brian M. Rodier, Esq.,

  bmrodier@rodierlegal.com; Rodier & Rodier, P.A., Counsel for Plaintiff, 400 N. Federal

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